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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STEEL, PAPER AND FORESTRY,
RUBBER, MANUFACTURING, ENERGY,
ALLIED INDUSTRIAL AND SERVICE WORKERS                              Case No. ________________
INTERNATONAL UNION, AFL-CIO-CLC; and
RONALD STRAIT and DANNY O. STEVENS,                                Class Action
for themselves and others similarly situated,
                                                                   United States District
              Plaintiffs,                                          Judge ______________

v.

KELSEY-HAYES COMPANY; TRW AUTOMOTIVE,
INC.; and TRW AUTOMOTIVE HOLDINGS
CORPORATION,

            Defendants.
_____________________________________________/

                            COMPLAINT AND JURY DEMAND

       Plaintiff United Steel, Paper and Forestry, Rubber, Manufacturing, Energy, Allied

Industrial and Service Workers International Union, AFL-CIO-CLC (“USW”), and plaintiffs

Ronald Strait and Danny O. Stevens for themselves and similarly-situated retirees, former

employees, spouses, other eligible dependents, and surviving spouses, file this complaint against

defendants Kelsey-Hayes Company, TRW Automotive, Inc., and TRW Automotive Holdings

Corporation (collectively, the “Company”).

       1.    Plaintiffs bring this action to protect and enforce rights to retirement healthcare

coverage and benefits for the individual plaintiffs and others similarly-situated and for their

spouses, other eligible family members, and surviving spouses. The members of the proposed

class include retirees and former employees who worked at the Company’s plant in Jackson,

Michigan, where the retirees and former employees were members of the Union-represented

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collective bargaining unit. The class which the individual plaintiffs seek to represent consists of

similarly-situated retirees and former employees and their spouses, other eligible family

members, and surviving spouses. The retirees and former employees earned healthcare coverage

and benefits for themselves and their spouses, other eligible family members, and surviving

spouses by working for periods of years at the Jackson plant. The healthcare coverage and

benefits are promised in collective bargaining agreements binding the Company. The proposed

class includes participants in and beneficiaries of a welfare benefit plan or plans created,

sponsored, and operated by the Company pursuant to obligations under the governing collective

bargaining agreements. Members of the proposed class have been injured and have been, are

being, and will be deprived of promised healthcare coverage and benefits as a result of the

Company’s actions, including the Company’s unilateral discontinuation and diminution of

promised collectively-bargained retirement healthcare coverage and benefits.

       2.    This action is brought by the individual plaintiffs for themselves and as class

representatives pursuant to Federal Rule of Civil Procedure 23(a) and (b)(1)(A) and (B) and

(b)(2) and by the Union as former collective bargaining representative and as a party to the

governing collective bargaining agreements.

Jurisdiction and Venue


       3.    This Court has jurisdiction under Section 301 of the Labor-Management Relations

Act (LMRA), 29 U.S.C. '185; under 29 U.S.C. §§1331 and 1337; and under Sections

502(a)(1)(B), (a)(3), (e), and (f) of the Employee Retirement Income Security Act (ERISA), 29

U.S.C. §'1132(a)(1)(B), (a)(3), (e), and (f).

       4.    Venue is proper in this district under LMRA Section 301(a), 29 U.S.C. '185(a), and

under ERISA Sections 502(e)(2) and (f), 29 U.S.C. §§1132(e)(2) and (f).


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Parties


          5.   Plaintiff USW is a labor organization representing workers in industries affecting

commerce within the meaning of 29 U.S.C. ''142, 152, and 185. USW has an office in Taylor,

Michigan, within this district.    USW is the successor via merger of the various labor

organizations that were parties to the collective bargaining agreements (“CBAs”) governing the

Union-represented collective bargaining unit at the now-closed Jackson plant, including the

Allied Industrial Workers of America (AIW), the United Paperworkers International Union

(UPIU), the Paper, Allied-Industrial, Chemical and Energy Workers International Union

(PACE), and the local union consisting of employees in the collective bargaining unit at the

Jackson plant affiliated with the various predecessor international unions and USW, known

variously as Local 670, Local 7670, and Local 2-670 (collectively “Union”).

          6.   Plaintiff and class representative Ronald Strait resides at 4145 Ridge Road,

Jackson, Michigan. He was employed at the Jackson plant from January 1966 until he retired in

July 1999. During that employment he was a member of the Union-represented collective

bargaining unit at the Jackson plant and is now a participant in a welfare benefit plan created,

sponsored, and operated by the Company to provide healthcare coverage and benefits to retirees

and former Union-represented Jackson plant employees and to the retirees’ and former

employees’ spouses, other eligible family members, and surviving spouses.

          7.   Plaintiff and class representative Danny O. Stevens resides at 4008 Canary Lane,

Jackson, Michigan. He was employed at the Jackson plant from September 1966 until he retired

in March 1999. During that employment he was a member of the Union-represented collective

bargaining unit at the Jackson plant and is now a participant in a welfare benefit plan created,

sponsored, and operated by the Company to provide healthcare coverage and benefits to retirees


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and former Union-represented Jackson plant employees and to the retirees’ and former

employees’ spouses, other eligible family members, and surviving spouses.

        8.     Defendants Kelsey-Hayes Company, TRW Automotive, Inc., and TRW

Automotive Holdings Corporation are related entities, collectively referred to as the “Company.”

        9.    The Company is an employer doing business in industries affecting commerce

within the meaning of 29 U.S.C. ''142, 152, and 185, does business in Michigan and other

states, and is headquartered in Livonia, Michigan in this district. The Company is responsible

for the collectively-bargained retirement healthcare promised in the various collective bargaining

agreements governing the retirement of retirees and former Union-represented Jackson plant

employees and is the sponsor of the welfare benefit plan or plans created and maintained

pursuant to those collective bargaining agreements to provide healthcare coverage and benefits to

retirees and former Union-represented Jackson plant employees and to the retirees’ and former

employees’ spouses, other eligible family members, and surviving spouses.

Facts


        10.    The Company is bound by the various CBAs in effect during the period February

6, 1995 through approximately 2006, including the February 6, 1995 collective bargaining

agreement, the February 8, 1999 collective bargaining agreement, and the February 10, 2003

collective bargaining agreement. Those CBAs promise eligible retirees and former Union-

represented Jackson plant employees lifetime Company-paid retirement healthcare at the levels

and terms in effect during the effective dates of those CBAs and at the time of the 2006 closing

of the Jackson plant and to date, including medical, hospital, surgical, prescription, dental,

optical, and hearing aid coverage and partial Medicare Part B premium reimbursements, with




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healthcare coverage provided through insured or self-insured group plans, including the plans

administered by Blue Cross/Blue Shield of Michigan, Blue Care Network, and Humana.

       11.     Since February 6, 1995 and continuing to date, the Company in general has

provided the promised healthcare, with the exception of the limited unilateral exclusion of

certain drugs from prescription coverage, an exclusion imposed by the Company in 2010 without

retiree or Union consent and over the protest of retirees.

       12.     On September 14, 2011, the Company wrote to retirees announcing a unilateral

“change in our retiree healthcare program effective January 1, 2012.” The planned unilateral

change, reflected in the Company’s letter attached as Exhibit A and the booklet attached as

Exhibit B, will discontinue group healthcare plans “for post-65 retirees” and put into effect in

place of those group healthcare plans for each “post-65” retiree, spouse, other eligible family

member, and surviving spouse, an individual Health Reimbursement Account (“HRA”).

       13.     The planned HRA program described by the Company, reflected in the

Company’s letter attached as Exhibit A and the booklet attached as Exhibit B, is to be “in place

of the TRW Retiree Plan,” is to be funded by the Company, and is to be used “to pay premiums

and other eligible healthcare expenses incurred in the future” to “offset” healthcare costs

incurred by the retiree, including, if the retiree chooses, for the “purchase” by the retiree of “one

of several individual Medicare policies” and “prescription drug coverage” and “dental and vision

benefits.” However, the Company states, “TRW’s contribution to the HRA will be reviewed

annually and is subject to change” and “TRW retains the right to amend or terminate the HRA.”

       14.     The Company sent to retirees, spouses, and surviving spouses, a booklet, attached

as Exhibit B, titled “2012 New Coverage New Choices,” addressing the Company’s “change”

from existing Company-paid retirement healthcare group plans to the Company’s HRA program



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“beginning January 1, 2012” for “eligible retirees and spouses who are enrolled in Medicare due

to age or disability.” The booklet states:

               You are neither vested in your retiree healthcare benefits nor does
               TRW Automotive intend to vest you in retiree healthcare benefits.
               To the fullest extent permitted by law, TRW Automotive reserves
               the right to amend, modify, suspend, replace or terminate any of its
               plans, polities or programs (including the HRA), in whole or in
               part, at any time and for any reason, by appropriate Company
               action. For example, TRW Automotive may, at any time, increase,
               decrease or eliminate the amount that is allocated to your HRA
               account each year.


       15.     The Company sent an undated letter to retirees and spouses stating: “Your group

health care coverage from TRW Automotive will end on December 31, 2011.” A copy of that

letter sent to plaintiff Ronald Strait and his wife, Edna Strait, is attached as Exhibit C.

Class Action


       16.   Individual plaintiffs Strait and Stevens bring this action on behalf of themselves,

and on behalf of others similarly-situated under Federal Rules of Civil Procedure 23(a) and

(b)(1)(A) and (B) and (b)(2).

       17.   The individual plaintiffs seek to represent a class of all persons who are entitled to

healthcare coverage and benefits promised by the Company in the governing collective

bargaining agreements and those who are entitled to be participants in or beneficiaries of the

welfare benefit plan or plans arising under the collective bargaining agreements, including the

plan or plans created, sponsored, and administered by or on behalf of the Company to provide

healthcare coverage and benefits to retirees and former Jackson plant employees and to the

retirees’ and former employees’ spouses, other eligible family members, and surviving spouses.

       18.   The exact number of the members of the proposed class is not presently known to

plaintiffs, but, on information and belief, totals approximately 300 or more persons, including

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retirees and former employees, and their spouses, other eligible family members, and surviving

spouses, and is so numerous that joinder of all members is impracticable.

       19.   There are questions of law and fact common to the class, including legal and factual

questions regarding healthcare coverage and benefits addressed and promised in the governing

collective bargaining agreements and welfare benefit plan or plans and the propriety under

LMRA and ERISA of defendants’ discontinuation, alteration, and threatened discontinuation and

alteration, of the healthcare coverage and benefits promised in and arising under the collective

bargaining agreements and the plan or plans.

       20.   The individual plaintiffs’ claims are typical of the claims of the proposed class as

these claims arise under the collective bargaining agreements and the welfare benefit plan or

plans covering retirees and former Union-represented Jackson plant employees and covering the

retirees’ and former employees’ spouses, other eligible family members, and surviving spouses,

and the claims relate to conduct by the Company that has adversely and similarly affected all

class members and that will adversely and similarly affect all class members in the future.

       21.   The individual plaintiffs will fairly and adequately and diligently represent the

interests of the proposed class and are willing and capable of doing so because they have the

same or similar claims and interests arising out of the same or similar operative facts and the

same law and contract obligations and benefit plan obligations, and because they have secured

the representation of attorneys knowledgeable and experienced in labor law, ERISA, and

litigation of this kind, and because they have joined with and secured the support of USW in

their efforts to enforce their rights to healthcare coverage and benefits and the rights to

healthcare coverage and benefits of members of the proposed class.




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       22.   The actions of the Company addressed in this lawsuit apply generally to the

proposed class, so that final injunctive relief or corresponding declaratory relief is appropriate

respecting the proposed class as a whole and so that a class action is appropriate to avoid the

risks of inconsistent or varying adjudications of individual claims and individual adjudications

that as a practical matter would be dispositive of the interests of those within the proposed class.

                      COUNT I - BREACH OF LABOR CONTRACTS

       23.     Paragraphs 1-22 are incorporated in this count.

       24.     The Company is obligated under the governing collective bargaining agreements

to provide the individual plaintiffs and others similarly-situated, and their spouses, other eligible

family members, and surviving spouses, with lifetime Company-paid retirement healthcare

coverage and benefits through group plans providing the coverage and benefits promised in the

governing collective bargaining agreements, including medical, hospital, surgical, prescription,

dental, optical, and hearing aid coverage and benefits and partial Medicare Part B premium

reimbursements.

       25.     The Company unilaterally changed promised healthcare coverage and benefits,

and unilaterally failed and refused to provide the individual plaintiffs and others similarly-

situated, and their spouses, other eligible family members, and surviving spouses, with

healthcare coverage and benefits promised and required by the governing collective bargaining

agreements and the Company announced its plan to unilaterally discontinue promised coverage

and benefits effective January 1, 2012.

       26.     The Company’s unilateral changes and threatened unilateral changes in healthcare

coverage and benefits were and are being and will be imposed by the Company on the individual

plaintiffs and on others similarly-situated, and on their spouses, other eligible dependents, and

surviving spouses, without the consent of the retirees, their spouses, other eligible family
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members, surviving spouses or the Union, in violation and breach of the Company’s obligations

under the governing collective bargaining agreements.

       27.     The Company’s unilateral changes and threatened unilateral changes shift

healthcare-related financial obligations and risks and administrative burdens and responsibilities

and expenses from the Company to the class members, and those changes and threatened

changes, and any further unilateral changes diminishing or eliminating promised healthcare

coverage and benefits, have caused and will cause the individual plaintiffs and others similarly-

situated, and their spouses, other eligible family members and surviving spouses, to incur

personal expense for healthcare and to incur other burdens and expenses and suffer damages and

losses and hardships, and to suffer anxiety and distress, and deprive the individual plaintiffs and

others similarly situated, and their spouses, other eligible family members, and surviving spouses

of the benefit of their bargain, of the retirement healthcare earned by years of labor for the

Company, and of the promised collectively-bargained retirement healthcare.

       28.     When the Union and the Company negotiated the governing collective bargaining

agreements promising healthcare for retirees and former employees and for their spouses, other

eligible family members, and surviving spouses, the Union and the Company intended to provide

employees and retirees and former employees, and their spouses, other eligible family members,

and surviving spouses, with security, stability, certainty, peace of mind, and other benefits of

obvious mental concern and solicitude, and they intended that such individuals rely on the

Company’s promises of lifetime healthcare coverage and benefits.

       29.     The Company breached its collectively-bargained obligations to plaintiffs and

class members and in doing so caused plaintiffs and class members injury and damage and loss

and anxiety and distress and will continue to cause plaintiffs and class members injury and



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damage and loss and anxiety and distress, and the Company shifts healthcare-related financial

obligations and rights and administrative burdens and responsibilities and expenses from the

Company to the class members, in breach of the governing collective bargaining agreements.

                            COUNT II - VIOLATION OF ERISA

       30.    Paragraphs 1-29 are incorporated in this count.

       31.    The collectively-bargained healthcare coverage and benefits promised and

provided by the Company to retired former Union-represented employees, including to the

individual plaintiffs and others similarly-situated, and to their spouses, other eligible family

members, and surviving spouses, constitute one or more “employee welfare benefit plan” or

plans within the meaning of ERISA, 29 U.S.C. '1002(1).

       32.    The Company is, and was at all relevant times, the “sponsor” and the

“administrator” of the “employee welfare benefit plan” or plans within the meaning of ERISA,

29 U.S.C. '§1002(16)(A) and (B).

       33.    The individual plaintiffs and persons similarly-situated, and their spouses, other

eligible family members, and surviving spouses, are or are entitled to be “participants” in or

“beneficiaries” of the “employee welfare benefit plan” or plans within the meaning of ERISA, 29

U.S.C. §§1002(7) and (8).

       34.    The collectively-bargained “employee welfare benefit plan” or plans created,

sponsored, and administered by the Company promise and provide healthcare coverage and

benefits for retired former Union-represented Company employees, including the individual

plaintiffs and others similarly-situated, and their spouses, other eligible family members, and

surviving spouses.

       35.    The Company’s unilateral actions discontinuing and diminishing collectively-

bargained healthcare coverage and benefits, and the Company’s failure and refusal to provide
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collectively-bargained healthcare coverage and benefits according to the welfare benefit plan or

plans, violate the terms of the plan or plans and breach defendants’ obligations to fully comply

with the plan or plans.

       36.     The Company’s unilateral actions discontinuing and diminishing plan coverage

and benefits, and expressing the intention to discontinue, diminish, and otherwise alter the plan

or plans and plan coverage and benefits in the future, are wrongful and actionable under ERISA,

29 U.S.C. §§1132(a)(1)(B) and (3), which entitles a participant or a beneficiary to bring a civil

action “to enforce his rights under the terms of the plan, or to clarify his rights to future benefits

under the terms of the plan” and “to enjoin any act or practice which violates…the terms of the

plan or…to obtain other appropriate equitable relief…to redress such violations or…to

enforce…the terms of the plan.”

       37.     The Company breached its obligations and responsibilities under ERISA and the

governing plan or plans and in doing so caused injury and damage and loss to the individual

plaintiffs and others similarly-situated, and to their spouses and other eligible family members

and surviving spouses, and continues to do so.

                   COUNT III – BREACH OF ERISA FIDUCIARY DUTY

       38.     Paragraphs 1-37 are incorporated in this count.

       39.     The Company is a fiduciary of the “employee welfare benefit” plan or plans

within the meaning of ERISA, 29 U.S.C. '1002(21)(A), exercises control over the management

of the plan or plans and plan assets, and has discretionary authority and responsibility in the

administration of the plan or plans in addition to and beyond its control, authority, and

responsibility as sponsor and settlor of the plan or plans.




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       40.     The Company has breached and is breaching its fiduciary duty under ERISA, by

making and endorsing unilateral changes implemented, and to be implemented effective January

1, 2012 and thereafter, in the plan or plans, and in plan administration, and by, among other

things, representing to plan participants and beneficiaries that the discontinuation of the insured

and self-insured group healthcare plans and the implementation of the HRA program, reflected in

Exhibits A and B, is advantageous and entails “continued financial support from TRW to help

you pay for retiree health care expenses” while at the same time failing to disclose the risks,

added costs, burdens, and disadvantages of the HRA program, and failing to specify the

consequences of the change, and failing to explain the discontinuation of the coverage and

benefits promised by the plan or plans and the governing collective bargaining agreements and

the impact of discontinuation, and by unilaterally imposing the discontinuation and change, and

at the same time asserting the “right to amend or terminate the HRA” and the prerogative “at any

time” to “decrease or eliminate the amount that is allocated to your HRA account each year” and

at the same time falsely, and for its own self-interested purposes, contrary to the governing

collective bargaining agreements and to judicial decisions and litigation settlements, asserting

that retirees are not “vested in your retiree healthcare benefits.”




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Relief Requested

Plaintiffs ask that the Court:

       1.      Certify this action as a class action, appoint plaintiffs Strait and Stevens as class
               representatives, and appoint plaintiffs’ counsel Legghio & Israel, P.C. as class
               counsel;

       2.      Declare and determine that the Company violated the governing collective
               bargaining agreements and welfare benefit plan or plans and is liable, in all of its
               corporate manifestations and names, for those violations, and direct the Company
               to cease those violations and to rectify those violations by paying damages and
               expenses incurred due to the violations, and by otherwise making plaintiffs and
               class members whole;

       3.      Award damages and “make whole” remedies to plaintiffs and class members and
               direct the Company to provide suitable mechanisms to ensure full and timely
               “make whole” relief to all affected class members;

       4.      Issue preliminary and permanent injunctions directing the Company to satisfy its
               contractual and statutory duties and responsibilities under the governing collective
               bargaining agreements and welfare benefit plan or plans and to reinstate and
               maintain promised and vested healthcare for the members of the class;

       5.      Direct the Company to pay interest on damages suffered and expenses incurred by
               class members, to pay plaintiffs’ costs and expenses and attorney fees, and to pay
               such other costs, expenses, and compensatory, punitive and exemplary damages
               as may be warranted; and

       6.      Award such other relief necessary to make plaintiffs and class members whole
               and such other relief as may be warranted by law and equity.

                                             s/Stuart M. Israel
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                                         JURY DEMAND

      Plaintiffs request trial by jury of all issues triable by jury.

                                               s/Stuart M. Israel
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Dated: December 15, 2011




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